

People v Shuman (2023 NY Slip Op 03077)





People v Shuman


2023 NY Slip Op 03077


Decided on June 08, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 08, 2023

Before: Webber, J.P., González, Rodriguez, Pitt-Burke, JJ. 


Ind No. 4972/17 Appeal No. 425 Case No. 2018-5787 

[*1]The People of the State of New York, Respondent,
vKhalia Shuman, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Paul Wiener of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jamie Masten of counsel), for respondent.



Judgment, Supreme Court, New York County (Abraham L. Clott, J.), rendered May 31, 2018, convicting defendant, upon her plea of guilty, of criminal possession of a forged instrument in the second degree, and sentencing her to three years' probation, unanimously affirmed.
The court properly denied the portion of defendant's suppression motion that sought a hearing under Dunaway v New York (442 US 200 [1979]) concerning the legality of the arrest that led to defendant's statements. The information provided to defendant explained, in detail, the basis for her arrest for crimes involving forged checks, committed on three occasions (see e.g. People v Cartwright, 65 AD3d 973 [1st Dept 2009], lv denied 13 NY3d 937 [2010]). In her suppression motion, defendant only claimed to have engaged in lawful conduct immediately before her seizure without reference to the People's stated predicate for the arrest, and she did not assert any basis for suppression or raise a factual dispute requiring a hearing (see People v Jones, 95 NY2d 721, 728-729 [2001]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 8, 2023








